      Case 2:18-cv-02151-MSG Document 7 Filed 07/02/18 Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TAMALYN S. ANEN, on behalf of               :
herself and others similarly situated       :
              Plaintiff                     :
              v.                            :       CIVIL ACTION NO. 18-2151
                                            :
POWELL TRACHTMAN, P.C.                      :       JURY TRIAL DEMANDED
     and                                    :
POWELL, TRACHTMAN, LOGAN,                   :
   CARRLE & LOMBARDO, P.C.                  :
     and                                    :
POWELL LEGAL GROUP, P.C.                    :
     and                                    :
DAVID T. BOLGER                             :
     and                                    :
MICHAEL G. TRACHTMAN                        :
     and                                    :
GUNTHER O. CARRLE                           :
     and                                    :
PAUL A. LOGAN                               :
           Defendants                       :

                              AMENDED COMPLAINT

I.     INTRODUCTION

       1. Plaintiff, Tamalyn S. Anen (Anen), on behalf of herself and similarly situated

current and former employees of Defendants, Powell Trachtman, P.C., Powell,

Trachtman, Logan, Carrle & Lombardo, P.C., and Powell Legal Group, P.C.,

(collectively Powell), and David T. Bolger, Michael G. Trachtman, Gunther O. Carrle

and Paul A. Logan (collectively Powell lawyers), is suing Powell and Powell lawyers

under the Fair Labor Standards Act (FLSA), 29 U.S.C. §201, et seq. Anen is also suing

Powell and Powell lawyers on behalf of herself under the Pennsylvania Minimum Wage

Act (PaMWA), 43 P.S. §333.101, et seq., the Pennsylvania Wage Payment and

Collection Law (PaWPCL), 43 P.S. § 260.1, et seq. and for unjust enrichment. Anen
       Case 2:18-cv-02151-MSG Document 7 Filed 07/02/18 Page 2 of 8




seeks all relief against Powell and Powell lawyers that she and her similarly situated

current and former Powell and Powell lawyers employees are entitled to, including an

order permitting this case to proceed as a collective action under the FLSA, prompt

notice to all potential collective members, unpaid overtime/wages, liquidated damages,

interest, attorney’s fees and costs, and such other relief as the Court shall deem proper.

II.    JURISDICTION AND VENUE

       2. This Court has jurisdiction over Anen’s FLSA claims pursuant to 28 U.S.C.

§1331 and 29 U.S.C. §216(b). This Court has jurisdiction over Anen’s state law claims

pursuant to 28 U.S.C. § 1367(a).

       3. This lawsuit properly lies in the Eastern District of Pennsylvania pursuant to 28

U.S.C. §1391(b) because the claims arose in this judicial district.

III.   PARTIES

       4. Anen resides in Bensalem, PA.

       5. Powell is a law firm that provides services to businesses, business owners,

executives, entrepreneurs and investors. Powell is regularly retained by insurance carriers

to protect the interests of design professionals, accounting firms, law firms, universities,

major manufacturers and other businesses. Powell was formed in 1988.

       6. As of February 2018, Powell had about 45 employees, including approximately

25 attorneys and about 20 staff. The staff includes legal secretaries/assistants, paralegals,

file clerks and a receptionist. Powell has a main office in King of Prussia, PA and satellite

offices in Cherry Hill, NJ and Harrisburg, PA.

       7. In about late April/early May 2018, Powell announced that it was winding

down and some of its attorneys were leaving the firm to take on other positions.




                                              2
      Case 2:18-cv-02151-MSG Document 7 Filed 07/02/18 Page 3 of 8




        8. As of the filing of this lawsuit, Mr. Bolger is the managing partner of Powell;

Mr. Trachtman is a partner at Wisler Pearstine, LLP in Blue Bell; Mr. Carrle is general

counsel at McCormick Taylor, Inc. in Philadelphia; and Mr. Logan is a partner at Post &

Schell, P.C. in Philadelphia.

        9. Within the past 2-3 years, David T. Bolger, Michael G. Trachtman, Gunther O.

Carrle and Paul A. Logan were believed to be members of Powell’s executive committee.

        10. Upon information and belief, Messrs. Bolger, Trachtman, Carrle and Logan

have and had active roles in overseeing Powell’s day-to-day operations, including the

setting, payment, and approval of compensation for support staff (including file clerks,

legal assistants/secretaries, paralegals, and other support staff).

        11. Powell is an employer engaged in interstate commerce or in the production of

goods for commerce. Powell has gross operating revenues exceeding $500,000. Powell

and Powell lawyers are employers covered by the FLSA, PaMWA, and PaWPCL.

IV.     FACTUAL BACKGROUND

        12. Anen has worked at Powell as a file clerk since April 2001. She currently

works at Powell.

        13. Anen’s hourly rates were/are $20.90/hour in 2015, $21.63/hour in 2016,

$21.95/hour in 2017, and $22.39/hour in 2018.

        14. Powell’s Policy and Procedure Manual provides the following:

                a. Non-exempt employees, including Anen and other similarly situated
                   administrative and support staff Powell employees, are required to
                   submit signed timesheets setting forth their hours worked. The
                   timesheets must be approved by the employee’s supervisor and then
                   submitted to the firm administrator, Fay B. Hunsberger.
                b. Non-exempt employees (such as Anen and her similarly situated
                   administrative and support staff Powell employees) are entitled to
                   overtime pay under the specific provisions of federal and state laws.



                                               3
      Case 2:18-cv-02151-MSG Document 7 Filed 07/02/18 Page 4 of 8




               c. Powell pays non-exempt employees (such as Anen and her similarly
                  situated administrative and support staff Powell employees) overtime
                  at 1 ½ times their base rate for hours actually worked in excess of 40
                  hours per week.
               d. Unless an employee is working at her desk through lunch, she must
                  clock out even if she is taking her lunch in the office.

       15. Throughout most of Anen’s 17 years working at Powell, she worked from

6am – 4pm with a one-hour lunch. As of January 2018, she began working 6am – 3pm

with a one-hour lunch. Through the end of 2017, Anen regularly worked at least 45 hours

per week, and she often worked more than 45 hours per week on occasions where Powell

needed her to work past 4pm.

       16. Mr. Bolger changed Anen’s schedule as of around January 1, 2018 from 6am

– 4pm to 6am – 3pm because he was upset that she was working overtime hours and was

concerned that the firm might owe her overtime pay.

       17. Anen regularly submitted bi-weekly time sheets which were signed and

approved by Powell firm administrator Ms. Hunsberger. Upon information and belief,

some or all of the Powell lawyers also signed, saw and/or approved Anen’s bi-weekly

time sheets.

       18. Powell did not pay Anen any compensation, including overtime

compensation, for any of the hours she worked in excess of 40 hours each work week.

Powell and Powell lawyers knew they were required to pay Anen (and her similarly

situated file clerks, legal assistants/secretaries, paralegals and other Powell support staff)

overtime pay and chose to ignore the law and did not pay overtime pay to anyone.

       19. Upon information and belief, Anen’s similarly situated file clerks, legal

assistants/secretaries, paralegals and other Powell support staff regularly worked and

work at least 5-10 hours/week in excess of 40 hours/week. Upon information and belief,



                                               4
      Case 2:18-cv-02151-MSG Document 7 Filed 07/02/18 Page 5 of 8




Powell does not pay and continues to not pay Anen and her similarly situated file clerks,

legal assistants/secretaries, paralegals and other Powell support staff any compensation,

including overtime compensation, for any of the hours they worked/work in excess of 40

hours each work week.

        20. Upon information and belief, Powell has maintained these improper pay

practices for at least the past three years and likely farther in the past than that.

        21. Powell willfully violated and is willfully violating the FLSA, PaMWA and

PaWPCL by failing to pay its non-exempt file clerks, legal assistants/secretaries,

paralegals and other support staff any compensation, including overtime compensation,

for hours they worked in excess of 40 hours/week and by maintaining firm policies that

violate the FLSA, PaMWA and PaWPCL.

        22. Anen brings this lawsuit pursuant to 29 U.S.C. §216(b) as a collective action

on behalf of all Powell file clerks, legal assistants/secretaries, paralegals and other

support staff who, during any workweek since May 22, 2015, worked more than 40 hours

and were not properly paid by Powell.

        23. Anen and other members of the collective are ‘similarly situated’ because

Powell subjected them all to the common employment practices summarized above and

because resolution of the unpaid overtime and compensation claims requires discovery of

many common facts, including Powell’s compensation, timekeeping and payroll

practices.

        24. Upon information and belief, more than ten individuals have been employed

by Powell, including Anen, as file clerks, legal assistants/secretaries, paralegals and other




                                               5
      Case 2:18-cv-02151-MSG Document 7 Filed 07/02/18 Page 6 of 8




support staff in the last three years and have been wrongfully denied compensation and

overtime compensation as stated above.

       25. There are questions of law and fact common to this collective, including

Powell’s liability to Anen and her potential collective mates under the legal theories set

forth above.

       26. As the named Plaintiff, Anen’s claims are typical of the collective because

Powell improperly paid all of its file clerks, legal assistants/secretaries, paralegals and

other support staff.

V.     CLAIMS

                                       COUNT I – FLSA

       27. Paragraphs 1-26 are incorporated by reference as if fully set forth herein.

       28. The FLSA requires employers such as Powell and Powell lawyers to pay

employees overtime compensation of ‘not less than one and one-half times’ their regular

rate of pay for all hours worked over 40 in a work week. 29 U.S.C. §207(a)(1).

       29. Powell and Powell lawyers violated the FLSA by failing to pay their file

clerks, legal assistants/secretaries, paralegals and other support staff (including Anen) any

compensation, including time and a half overtime compensation, for all hours worked in

excess of 40 hours/week.

       WHEREFORE, Anen seeks the following relief: 1) an order permitting this

lawsuit to proceed as a collective action; 2) prompt notice of this lawsuit be given to all

potential collective members; 3) unpaid compensation damages; 4) liquidated damages;

5) interest; 6) litigation costs including attorney’s fees and expenses; and 7) such other




                                              6
      Case 2:18-cv-02151-MSG Document 7 Filed 07/02/18 Page 7 of 8




relief as the Court shall deem proper. Anen seeks such relief jointly and/or severally

against all named Defendants.

                                    COUNT II – PaMWA

       30. Paragraphs 1-26 are incorporated by reference as if fully set forth herein.

       31. The PaMWA requires employers such as Powell and Powell lawyers to pay

employees overtime compensation of ‘not less than one and one-half times’ their regular

rate of pay for all hours worked over 40 in a work week. 43 P.S. §333.104(c).

       32. Powell and Powell lawyers violated the PaMWA by failing to pay Anen any

compensation, including time and a half overtime compensation, for all hours worked in

excess of 40 hours/week.

       WHEREFORE, Anen seeks the following relief: 1) unpaid compensation

damages; 2) interest; 3) litigation costs including attorney’s fees and expenses; and 4)

such other relief as the Court shall deem proper. Anen seeks such relief jointly and/or

severally against all named Defendants.

                                   COUNT III – PaWPCL

       33. Paragraphs 1-26 are incorporated by reference as if fully set forth herein.

       34. The unpaid compensation Powell and Powell lawyers failed to pay Anen is

considered wages under the PaWPCL.

       35. Powell and Powell lawyers violated the PaWPCL by failing to pay Anen any

compensation, including time and a half overtime compensation, for all hours worked in

excess of 40 hours/week.

       WHEREFORE, Anen seeks the following relief: 1) unpaid compensation

damages; 2) liquidated damages; 3) interest; 4) litigation costs including attorney’s fees




                                             7
        Case 2:18-cv-02151-MSG Document 7 Filed 07/02/18 Page 8 of 8




and expenses; and 5) such other relief as the Court shall deem proper. Anen seeks such

relief jointly and/or severally against all named Defendants.

                          COUNT IV – UNJUST ENRICHMENT

        36. Paragraphs 1-26 are incorporated by reference as if fully set forth herein.

        37. At all times relevant to this Complaint, Powell and Powell lawyers by their

policies and practices, benefited from, and increased its profits by failing to pay wages

earned and due to Anen at a rate not less than 1 ½ times the regular rate of pay for all

work performed in excess of 40 hours in a work week.

        38. Powell and Powell lawyers accepted and received the benefits of the work

performed by without compensating her for said work. The profits of Powell and Powell

lawyers were unjustly enriched at the expense of Anen.

        WHEREFORE, Anen seeks judgment for Powell’s and Powell lawyers’ unjust

enrichment in an amount equal to the benefits unjustly retained by Powell and Powell

lawyers, plus interest on these amounts. Anen seeks such relief jointly and/or severally

against all named Defendants.

                                      Respectfully submitted,

                               By:    SMP2861
                                      Scott M. Pollins - Pa. Atty. Id. No. 76334
                                      Pollins Law
                                      800 Westdale Avenue
                                      Swarthmore, PA 19081-2311
                                      (610) 896-9909 (phone)
                                      (610) 896-9910 (fax)
                                      scott@pollinslaw.com (email)

                                      Attorney for Plaintiff, Tamalyn S. Anen

Date:      7/2/18




                                              8
